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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW HAMPSHIRE

*************************************
Representative Robert R. Cushing, et al., *
                                          *
              Plaintiffs,                 *
       v.                                 *          Case No. 1:21-cv-00147-LM
                                          *
Representative Sherman Packard, et al.    *
                                          *
              Defendants.                 *
                                          *
*************************************

                                    MOTION TO DISMISS

       The defendants, by and through counsel, move to dismiss the plaintiffs’ First Amended

Complaint (ECF Doc. No. 44) in its entirety. As set forth in the memorandum of law

accompanying this motion, the plaintiffs’ federal claims are barred by the doctrine of absolute

legislative immunity and their state-law claims should be dismissed under the Eleventh

Amendment or based on a lack of supplemental jurisdiction.

       WHEREFORE, the defendants respectfully request that this Honorable Court:

       A. Dismiss the plaintiffs’ First Amended Complaint (ECF Doc. No. 44); and

       B. Grant such further relief as the Court deems just and equitable.

                                             Respectfully submitted,

                                             Sherman Packard, in his official capacity as Speaker
                                             of the New Hampshire House of Representatives;
                                             Paul Smith, in his official capacity as Clerk of the
                                             New Hampshire House of Representatives; the New
                                             Hampshire House of Representatives; and the State
                                             of New Hampshire

                                             By their attorney,

                                             JOHN M. FORMELLA
                                             NEW HAMPSHIRE ATTORNEY GENERAL
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Dated: September 23, 2022                    /s/ Samuel Garland
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                                CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing was served on all counsel of record using the

Court’s electronic-filing system.




                                             /s/ Samuel Garland
                                             Samuel R.V. Garland




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